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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                               (ALEXANDRIA DIVISION)

TIMOTHY GIRGIS,                           )
                                          )
                      Plaintiff,          )
                                          )
v.                                        )               Civil Action No. 1:19-cv-00998
                                          )
VIRGINIA COMMUNITY COLLEGE                )
SYSTEM (Northern Virginia Community       )
College)                                  )
DEBORAH NAQUIN,                           )
JULIE LEIDIG, in her official capacity    )
as the Loudon Campus Provost for Northern )
Virginia Community College,               )
KATHERINE HITCHCOCK, in her official )
Capacity as the Dean of the Division of   )
Communications and Human Studies for      )
Northern Virginia Community College, and )
MELVYN D. SCHIAVELLI, in his official )
capacity as the Interim President of      )
Northern Virginia Community College       )
                                          )
                      Defendants.         )



                                  NOTICE OF REMOVAL

       Defendants, Virginia Community College System (“VCCS”), Deborah Naquin (Professor

Naquin), Julie Leidig (Dean Leidig), Katherine Hitchcock (Dr. Hitchcock), and Melvyn

Schiavelli (“Dr. Schiavelli”) (collectively, “Defendants”), by counsel, pursuant to 28 U.S.C. §

1441 et seq., remove this civil action, originally filed in state court, to this Court for the

following reasons:

       1.     On June 28, 2010, Timothy Girgis (“Girgis” or “Plaintiff”) filed the attached

Summons and Complaint in the Loudon County Circuit Court of the City of Norfolk (Case No.

CL19-1420) (attached hereto as Ex. A).
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       2.      The four-count Complaint alleges that Defendants violated Plaintiff’s due process

rights in connection with his attempts to appeal a grade decision and that Northern Virginia

Community College (“NVCC”), which is part of the Virginia Community College System, and

Professor Naquin are liable to him pursuant to the Fourteenth Amendment of the Unites States

Constitution through 42 U.S.C. § 1983 and are also liable pursuant to the constitution of

Virginia. Plaintiff further alleges that NVCC and Professor Naquin are liable to him based on a

violation of this right to free speech pursuant to the U.S. Constitution and via 42 U.S.C. § 1983.

Finally, Plaintiff alleges NVCC breached a contract between Plaintiff and NVCC with respect to

the appeal of his grades.

       3.      Defendants Dr. Hitchcock, Dean Leidig, and Professor Naquin were served with

the Complaint July 3, 2019, Defendants VCCS and Dr. Schiavelli were served with the

Complaint on July 11, 2019. Based on the first service date, this notice of removal is timely filed

pursuant to 28 U.S.C. § 1446.

       4.      Additionally, Defendants timely filed responsive pleadings in the form of a

Demurrer and Plea in Bar and filed a Motion Craving Oyer in the Circuit Court of the City of

Norfolk, which is attached hereto as Ex. B.

       5.      Pursuant to 28 U.S.C. § 1441 and 28 U.S.C. § 1443, this case meets the

requirements for removal to federal court as it asserts claims arising out of the United States

Constitution and laws of the United States, namely two claims under 42 U.S.C. § 1983 for

violations of the right to due process contained in the Fourteenth Amendment to the United

States Constitution and the right to free speech guaranteed by the First Amendment to the United

State Constitution and the events complained of by Plaintiff took place in Loudon County,

Virginia.



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        6.      This Court has original jurisdiction over Plaintiff’s federal question claims and

supplemental jurisdiction over his state law claims. See 28 U.S.C. § 1331 (declaring that “[t]he

district courts shall have original jurisdiction of all civil actions arising under the Constitution,

laws, or treaties of the United States.”); 28 U.S.C. § 1367(a) (declaring that “in any civil action

of which the district courts have original jurisdiction, the district courts shall have supplemental

jurisdiction over all other claims that are so related to claims in the action within such original

jurisdiction that they form part of the same case or controversy . . . .”).

        7.      Plaintiff’s state law claims – violation of due process under Virginia’s

Constitution and breach of contract - are based on the same set of facts as the federal claims and

thus form the same case or controversy over which this Court has supplemental jurisdiction.

        8.      Defendants, by and through the undersigned counsel, will provide written notice

of the filing of its notice of removal to Plaintiff’s counsel and to the Clerk of the Loudon County

Circuit Court as required by 28 U.S.C. § 1446(d).

        9.      Pursuant to Fed. R. Civ. P. 81(c)(2)(C), Defendants will also file a motion to

dismiss, and an accompanying memorandum of law in support thereof, within seven days of the

filing of this notice of removal.

        10.     Defendants are all represented by the same counsel and all join in the removal of this

case to this Court.

        WHEREFORE, and for the foregoing reasons, Defendants remove this civil action,

originally filed in the Loudon County Circuit Court (Case No. CL19-1420), to this Court and

request it to properly proceed in federal court.




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                                   Respectfully submitted,
                                   VIRGINIA COMMUNITY COLLEGE SYSTEM,
                                   DEBORAH NAQUIN, JULIE LEIDIG, KATHERINE
                                   HITCHCOCK, and MELVYN D. SCHIAVELLI

                                   By __/s/_______________________
                                   Sandra S. Gregor (VSB No. 47421)
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Mark R. Herring
Attorney General of Virginia

Samuel Towell
Deputy Attorney General


                               CERTIFICATE OF SERVICE

      I hereby certify that on this 1st day of August, 2019, the foregoing Notice of Removal
was emailed and mailed, postage prepaid, to:

       Timothy R. Johnson (VSB No. 87673)
       20-B East Main Street
       Berryville, VA 22611
       trjohnson@trilegal.com



                                   By __/s/_______________________
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